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               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
KATAVIUS THREATT,                   )
individually, and as Next Friend of )
NIASIA THREATT,                     )
                                    )
                                    )
      Plaintiff,                    ) CIVIL ACTION
                                    ) FILE NO.: __________________
v.                                  )
                                    )             Removed from
PINE RIDGE MACON, LLC d/b/a )              Fulton County State Court
Pine Ridge Apartments, NEW          )  Civil Action File No.: 23EV000464
HOME, LLC, TIESHA KAY, and          )
JOHN DOE NOS. 1-10.,                )
                                    )
      Defendants.                   )
                                    )

  DEFENDANTS PINE RIDGE MACON, LLC AND NEW HOME, LLC’s
                 PETITION FOR REMOVAL

      COME NOW, Defendants Pine Ridge Macon, LLC and New Home, LLC,

by and through undersigned counsel, and show this Honorable Court the following:

                                         1.

      This civil action was filed in the State Court of Fulton County, Georgia, said

county being part of the Northern District of Georgia. (N.D.G.A. Local Rule

3.1(A), LR App. A, I). This, the Atlanta Division of this Court, is the proper

Division for this removal as further set forth below.


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                                          2.

      The action is a civil action for personal bodily injuries, medical expenses,

and other damages and the United States District Court for the Northern District of

Georgia has jurisdiction by reason of the diversity of citizenship of the parties.

                                          3.

      The amount in controversy exceeds $75,000.00, the statutory minimum

amount, exclusive of interest and costs.        Although Plaintiff’s Complaint only

alleges special damages “in excess of $19,683.24,” Plaintiff admitted on August 9,

2023, that Plaintiff seeks to recover more than $75,000 in this case. [Complaint for

Damages, attached as Exhibit “1,” p. 5, ¶ 11]; [Plaintiff’s Response to Def’s 2nd

RFAs, attached as Exhibit “2,” p. 1, ¶¶ 1-2].

                                          4.

      (a)     At the time of the commencement of this action in State Court, upon

information and belief, Plaintiff Katavius Threatt and her minor child were citizens

of Georgia.

      (b)     Defendant New Home LLC, at the time the action was commenced

and at the present time, was and still is a Georgia limited liability company.

Defendant New Home LLC’s sole member is Akram Wassef who is a citizen of

the State of New York.


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      (c)   Defendant Pine Ridge Macon, LLC, at the time the action was

commenced and at the present time, was and still is a Georgia limited liability

company. Defendant Pine Ridge Macon, LLC’s sole member is Akram Wassef

who is a citizen of the State of New York.

      (d)   Although Plaintiff named Tiesha Kay as a defendant, Kay has not

been personally served with a copy of the summons and complaint. [Plaintiff’s

Response to Def’s 1st RFAs, attached as Exhibit “3,” p. 1, ¶ 1]. No proof of

service has been filed on the record for Kay, personally or otherwise. Plaintiff

intends to serve Kay by publication, but this has not occurred. Therefore, Kay

should not be considered when determining complete diversity among the parties.

See 28 U.S.C. § 1441(b)(2) (“A civil action otherwise removable solely on the

basis of the jurisdiction under section 1332(a) of this title may not be removed if

any of the parties in interest properly joined and served as defendants is a citizen

of the State in which such action is brought.”) (emphasis added).

      (e)   Plaintiff also named fictious defendants but their citizenship “shall be

disregarded.” See 28 U.S.C. § 1441(b)(1).




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                                         5.

       A true and correct copy of all process, pleadings, and orders served upon

Defendants Pine Ridge and New Home in this action are attached hereto as Exhibit

“4.”

                                         6.

       This civil action is based on a controversy between citizens of different

states, and as outlined above, the amount in controversy exceeds $75,000.00. As

such, this matter has become ripe for removal based on federal diversity

jurisdiction.

                                         7.

       The instant Petition is being timely filed, pursuant to and in accordance with

28 U.S.C. § 1446(b)(3), within thirty days of the service of Plaintiff’s Response to

Defendant Pine Ridge Macon, LLC’s Second Request for Admissions, wherein

Plaintiff admitted that the amount in controversy exceeds the jurisdictional amount.

[See Exhibit 2, p. 1, ¶¶ 1-2].

                                         8.

       The instant Petition is timely filed, pursuant to and in accordance with 28

U.S.C. § 1446(c)(1), within one year of the commencement of the action.




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                                          9.

      Accordingly, this action, over which this Court has original subject matter

jurisdiction pursuant to 28 U.S.C. § 1332, is removable to the United States

District Court for the Northern District of Georgia, pursuant to 28 U.S.C. § 1441.

                                         10.

      Venue is proper in the Atlanta Division of the United States District Court

for the Northern District of Georgia pursuant to 28 U.S.C. § 1441, 28 U.S.C. §

1391, and N.D.G.A. Local Rule 3.1(B)(1)(a). Specifically, Plaintiff’s Complaint

was filed in the State Court of Fulton County, which is part of the Atlanta Division.

See N.D.G.A. Local Rule 3.1(A), LR App. A, I.

                                         11.

      As required by 28 U.S.C. § 1446(d), Defendants shall give written notice

hereof to all adverse parties and shall file a copy of this Petition with the Clerk of

the State Court of Fulton County.

      WHEREFORE, Defendants New Home, LLC and Pine Ridge Macon, LLC

request that this action proceed in this Court as an action properly removed to it.




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     Respectfully submitted, this the 11th day of August , 2023.

GRAY, RUST, ST. AMAND,
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            cperniciaro@grsmb.com     Attorneys for Defendants New Home,
                                      LLC and Pine Ridge Macon, LLC




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    CERTIFICATE OF SERVICE AND COMPLIANCE WITH L.R. 5.1

      This is to certify that I have this day served the forgoing with the Clerk of

Court and upon all counsel of record using the CM/ECF system which will

automatically send email notification of such filing to the following:

                            Ashley Cameron-Bivins
                           DOZIER LAW FIRM, LLC
                              487 Cherry Street
                                 P.O. Box 13
                             Macon, Georgia 31202

      This is to further certify that the foregoing complies with the font and point

selections approved by the Court in Local Rule 5.1. It is prepared in Times New

Roman 14 point font.

      Respectfully submitted, this the 11th day of August, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.
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            cperniciaro@grsmb.com         Attorneys for Defendants New Home,
                                          LLC and Pine Ridge Macon, LLC




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